Case 1:19-bk-11904       Doc 15    Filed 06/20/19 Entered 06/20/19 12:51:14             Desc Main
                                   Document     Page 1 of 2


                         UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF OHIO
                              AT CINCINNATI DIVISION

IN RE:                                             IN PROCEEDINGS UNDER CHAPTER 7

ALYSSIA K KELLEY                                                CASE NO: 19-11904

       DEBTOR                                           JUDGE: JEFFERY P. HOPKINS

                    NOTICE OF MOTION FOR RELIEF FROM STAY
         Nationstar Mortgage LLC d/b/a Mr. Cooper has filed papers with the Court to obtain
relief from the automatic Bankruptcy Stay.

       Your rights may be affected. You should read these papers carefully and discuss
them with your attorney, if you have one in this bankruptcy case. (If you do not have an
attorney, you may wish to consult one.)
        If you do not want the Court to grant the relief sought in the motion, or if you want the
court to consider your views on the motion, within twenty-one (21) days after the date of filing,
you or your attorney must:
       File with the court a written request for hearing and a written response setting forth the
       specific grounds for objection at:
                                        Clerk of Courts
                                     U.S. Bankruptcy Court
                                      221 E. Fourth Street
                                     Atrium Two Suite 800
                                     Cincinnati, OH 45202

       If you mail your request and response to the court for filing, you must mail it early
       enough so the court will receive it on or before the date stated above. The Court's
       mailing address is 221 E. Fourth Street, Atrium Two Suite 800, Cincinnati, OH 45202.

You must also mail a copy to:

   Mark A. Greenberger                              Shapiro, Van Ess, Phillips & Barragate, LLP
   7750 Montgomery Road                             4805 Montgomery Road
   Suite 205                                        Suite 320
   Cincinnati, OH 45236                             Norwood, OH 45212

       If you or your attorney do not take these steps, the court may decide that you do not
oppose the relief sought in the motion or object and may enter an order granting that relief.
Case 1:19-bk-11904      Doc 15     Filed 06/20/19 Entered 06/20/19 12:51:14           Desc Main
                                   Document     Page 2 of 2


                                CERTIFICATE OF SERVICE

       I certify that on June 20, 2019, copies of the foregoing were served by mailing the same
by ordinary U.S. Mail, postage prepaid, and/or electronically as permitted by local rule, to the
persons listed below.

Served by Regular U.S. Mail

Alyssia K Kelley a/k/a Alyssia Kelley
4119 Fox Run Trail
Apt. 9
Cincinnati, OH 45255


Electronic Mail Notice List

Mitchell W. Allen
Allen Law Firm
8469 Mason Montgomery Rd.
Suite 2
Mason, OH 45040

Mark A. Greenberger
7750 Montgomery Road
Suite 205
Cincinnati, OH 45236

Office of the U.S. Trustee
36 East Seventh Street
Suite 2030
Cincinnati, OH 45202

                                             /s/ Matthew Murtland___________________
                                             Shapiro, Van Ess, Phillips & Barragate, LLP
                                             Matthew Murtland (OH-0088290)
                                             4805 Montgomery Road, Suite 320
                                             Norwood, OH 45212
                                             Phone: (513) 396-8100
                                             Fax: (847) 627-8805
                                             Email: mmurtland@logs.com
